
Appeal No. 940011 from Judgment dated January 23,1995, John M. Montgomery, Ruling Judge, Oktibbeha County Circuit Court.
William E. Whitfield, III, Richard W. Sli-man, Bryant Clark Dukes Blakeslee Ramsay &amp; Hammond, Gulfport, for Appellant.
James M. Ward, Ward &amp; Williamson, Starkville, for Appellee.
Before BRIDGES, P.J., and COLEMAN and PAYNE, JJ.
Affirmed.
FRAISER, C.J., THOMAS, P.J., and BARBER, DIAZ, KING, MeMILLIN and SOUTHWICK, JJ., concur.
